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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 JOSE MARIA DeCASTRO,
 a/k/a CHILLE DeCASTRO,
 a/k/a DELETE LAWZ,                                     Case No. 1:22-cv-11421-ADB

                 Plaintiff and Defendant-in-
                 Counterclaim

            v.

JOSHUA ABRAMS a/k/a
ACCOUNTABILITY FOR ALL and
KATE PETER a/k/a
MASSHOLE TROLL MAFIA,

                 Defendants and Plaintiffs-in-
                 Counterclaim, and

 GOOGLE LLC,

                 Defendant.


                                MOTION FOR ADMISSION
                          PRO HAC VICE OF BENJAMIN D. MARGO

       Pursuant to Massachusetts Local Rule 83.5.3(e), Matthew D. Gorman, Esq., a member in

good standing of the bar of the Commonwealth of Massachusetts and the United States District

Court for the District of Massachusetts, moves Benjamin D. Margo be granted leave to appear in

this action pro hac vice as counsel for Defendant Google LLC. In support of this motion, and based

on the representations set forth in the attached Declaration of Benjamin D. Margo (Exhibit 1), Mr.

Gorman states as follows:

       1.        Benjamin D. Margo is an associate at Wilson Sonsini Goodrich & Rosati, P.C., 1301

Avenue of the Americas, 40th Floor, New York, New York 10019.

       2.        Mr. Margo is a member in good standing of the bars of New York, California, the

District of Columbia, and every jurisdiction where he is admitted to practice.


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        3.      There are no disciplinary proceedings pending against Mr. Margo as a member

of the bar in any jurisdiction.

        4.      Mr. Margo has not previously had a pro hac vice admission to this court (or other

admission for a limited purpose under this rule) revoked for misconduct.

        5.      Mr. Margo has read and agrees to comply with the applicable provisions of the

Local Rules of the United States District Court for the District of Massachusetts.

        WHEREFORE, Mr. Gorman respectfully requests that his Motion to Admit

Benjamin D. Margo pro hac vice be allowed.


Dated: May 23, 2023                            Respectfully submitted,

                                               WILSON SONSINI GOODRICH & ROSATI
                                               Professional Corporation

                                                      /s/ Matthew D. Gorman
                                               Matthew D. Gorman (BBO #569406)
                                               28 State Street, 37th Floor
                                               Boston, Massachusetts 02109
                                               Telephone: (617) 598-7800
                                               Facsimile: (866) 974-7329
                                               Email: mgorman@wsgr.com

                                               Counsel for Defendant Google LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that this document was filed through the District of Massachusetts

CM/ECF system and will be sent electronically to all registered participants as identified on the

Notice of Electronic Filing (“NEF”) and paper copies will be sent to those indicated as non-

registered participants.


Dated: May 23, 2023                          Respectfully submitted,

                                             WILSON SONSINI GOODRICH & ROSATI
                                             Professional Corporation

                                                    /s/ Matthew D. Gorman
                                             Matthew D. Gorman (BBO #569406)
                                             28 State Street, 37th Floor
                                             Boston, Massachusetts 02109
                                             Telephone: (617) 598-7800
                                             Facsimile: (866) 974-7329
                                             Email: mgorman@wsgr.com

                                             Counsel for Defendant Google LLC




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